Case 6:24-cv-00437-JDK   Document 66-8   Filed 03/17/25   Page 1 of 5 PageID #: 575




                         Exhibit 7
      Case 6:24-cv-00437-JDK            Document 66-8         Filed 03/17/25       Page 2 of 5 PageID #: 576


Vanguard Investment
Stewardship Insights
Vanguard’s expectations for companies with
significant coal exposure



December 2021


Vanguard publishes Investment Stewardship Insights to promote good governance
practices and to provide investors and public companies with our perspectives on
important governance topics and issues that come up for shareholder votes.



Vanguard has explained its concerns about climate              are increasingly more cost-competitive than coal
change and the financial risk it presents to long-             power, are heightening the risk profile of coal assets.
term investors.1 We have outlined expectations for             In recent years, activist groups and shareholder
companies where climate change is a material risk:             proponents have used the proxy voting system to
They should have climate-competent boards, robust              seek greater disclosure of this risk, ask companies
climate risk oversight and mitigation measures,                to shutter or divest their coal assets, or persuade
and effective climate risk disclosure. In this Insights,       financial institutions to stop providing financial
we focus on the risks that coal production and                 services to the thermal coal industry and the
consumption can pose to long-term investors.                   entities that extract thermal coal from the ground.
                                                               These developments represent significant risks to
The diminishing role of coal in the global economy             shareholder value in carbon-intensive industries.
Governments, scientists, and NGOs around the world             At the same time, coal has long played a vital role
have made clear that burning thermal coal (or energy           in the global economy and energy mix. It serves
coal) contributes significantly to greenhouse gas              as a critical fuel source for power plants that
(GHG) emissions and climate change. Coal burning               generate electricity for millions of people and
is the most GHG-intensive way to generate                      businesses, sustains jobs and economic activity in
electricity,2 and coal-fired power plants are the              many communities, and contributes tax revenues
single largest contributor of global emissions,                for governments and returns for shareholders.
accounting for 30% of global CO2 emissions.3                   In some countries, particularly those in emerging
As governments and policymakers around the world               markets, coal represents an important natural
seek to address the risk of climate change, many               resource; for some countries, it is a crucial export
have focused on coal and have committed to phasing             and contributor to GDP. This reality cannot be
out coal power and/or not building new coal-fired              overlooked. If companies in these countries were
power plants.4 This focus was reaffirmed by the                to curtail their coal use dramatically and suddenly,
Glasgow Climate Pact, which calls upon countries to            as some shareholder proposals advocate, it could
accelerate the “efforts towards the phasedown of               cause significant social and economic disruption
unabated coal power…”5                                         and adverse impacts. The transition from coal to
                                                               cleaner energy sources is complex and will require
Anticipated stricter policies and regulatory pressures,        commitment, investment, and planning from
coupled with faster growth of renewables that                  governments as well as from the businesses involved.




                                                                                                                         1
     Case 6:24-cv-00437-JDK            Document 66-8       Filed 03/17/25    Page 3 of 5 PageID #: 577
Vanguard’s approach to addressing coal-specific risks      customers, and counterparties. As companies and
Vanguard’s Investment Stewardship team has                 countries around the world try to reduce their carbon
engaged with companies in carbon-intensive                 footprint or become carbon neutral, coal-exposed
industries, and their boards, over the last several        companies will face increased financial, regulatory,
years and has discussed how they oversee climate           legal, and reputational risk.
change risks, including those related to regulation,
                                                           For example, some financial services companies are
reputation, technological disruption, litigation, shifts
                                                           phasing out financing of and insurance services to
in supply and demand, and physical risks such as
                                                           companies with exposure to coal, which can inhibit
extreme weather events.
                                                           them from funding continuing operations and
Because of the threat these changes pose to                future growth opportunities. A continuation of this
shareholder value, the team has focused on a subset        trend is likely to have a direct impact on long-term
of utilities and mining companies significantly            value creation. Further, other technologies, such as
exposed to thermal coal. Stakeholders have voiced          renewable energy, energy storage solutions, and
concerns about the business-model resilience               gas peaking plants are increasingly outcompeting
of companies that are exposed to thermal coal              coal power generation on costs, affecting the
and their ability to compete with peers who are            economics of electricity markets, and influencing
accelerating adoption of alternative energy sources        demand for coal.
such as wind, solar, and hydropower. There has also
been stock underperformance compared with peers            What we seek to understand from portfolio
within a subset of these companies in recent years.        companies with significant coal exposure
This is due partly to volatility in commodity price        These risks can translate into stranded assets (assets
cycles and wholesale electricity prices, as well as to     that have lost their value because of the energy
investors’ concern about relative future performance       transition), which significantly weigh on financial
given expectations of a gradual decline in coal            performance and returns. Therefore, as part of our
demand and asset transition risk.                          fiduciary duty to shareholders in the Vanguard funds
                                                           to support the long-term value of their investments,
Certain companies and sectors face greater risk
                                                           we seek to understand the actions coal-exposed
from climate change than others. The scientific
                                                           companies are taking to mitigate this risk.
consensus6 is that coal is a major contributor of GHG
emissions and that its consumption at current levels       Specifically, we aim to understand a company’s
is incompatible with the Paris Agreement goals.            transition plan and ensure value creation through
Those goals aim to limit global temperature rise by        business-model resilience. Since 2015, the goals set
well below 2°C and to pursue efforts to limit warming      forth in the Paris Agreement have become a widely
to 1.5°C. It is now well-established that coal-related     accepted standard for countries and companies
emissions must decline rapidly in the coming years to      aiming to address climate change and have been
achieve those goals.                                       recently reaffirmed by the Glasgow Climate Pact.
                                                           Where climate change is a material risk, Vanguard
As a result, companies with a business model that
                                                           seeks to understand how companies set targets in
relies on uninterrupted and/or unconstrained thermal
                                                           alignment with these goals. Specifically, we believe
coal production and use (primarily mining and utility
                                                           that these companies should provide clear disclosures
companies) face a range of disproportionately high
                                                           on the following:
risks of climate-related actions by governments,




                                                                                                                    2
     Case 6:24-cv-00437-JDK           Document 66-8         Filed 03/17/25      Page 4 of 5 PageID #: 578

  Board-level climate competence
  • Description of relevant skills, experiences, and education/training of directors across material climate-
    related topics, with clear lines of accountability for risk oversight.

  • Articulation of a deep understanding of the current and emerging policy and regulatory environment/
    framework for these companies in their key reference markets.

  • Explanation of how thermal coal remains relevant for a company’s customer base and the market it
    serves over 10, 20, and 30 years.

  • Compelling shareholder value proposition in an environment where regulatory requirements and market
    activity support the implementation of the Paris Agreement or applicable subsequent agreements, and
    how the company will deliver shareholder value through the transition to that environment.

  Risk mitigation
  • Articulation of how the business is resilient within a 1.5°C limit of global warming as the world
    progressively moves to net zero emissions, such as by serving a specific market niche or through carbon
    capture and storage.

  • An explanation of how the board oversees the capital allocation process (capital expenditures and
    operating expenses) in the context of the applicable goals of the Paris Agreement and an expected net-
    zero transition.

  • Where applicable to the company’s strategy, emission-reduction initiatives and mix of energy sources to
    ensure resilience and economic competitiveness (e.g., renewable energy, efficient transport).

  • Consideration for responsible transition plans for coal mines and power stations, including site
    rehabilitation and workers’ retraining, to minimize risks of liabilities and litigation and preserve social
    license to operate with communities, governments, and other stakeholders.



Effective disclosure                                           Financial Disclosure (TCFD) framework and other
There is compelling scientific consensus, expert               applicable local standards or codes, on an annual
perspective, and global recognition that achieving the         basis or more frequently as needed/appropriate.
Paris Agreement targets will require that companies          • Disclosure on how corporate political involvement
reduce thermal coal production and/or unabated                 and lobbying, directly and through membership
coal power generation over the coming years and                in industry associations, adheres to disclosed
decades. This perspective was acknowledged and                 business strategy in alignment with the Paris
reaffirmed by the Glasgow Climate Pact at COP26.               Agreement goals.
We believe that companies should disclose their plans
and the rationale for their approach. That includes          Vanguard’s index funds approach
disclosing timelines and related plans for asset
                                                             Vanguard index funds are near-permanent owners of
closures and/or diversifying their asset portfolio in
                                                             securities in thousands of public companies globally.
line with applicable legal and regulatory requirements
                                                             In the case of climate risk, we believe it is better
to achieve policymakers’ stated objectives of a net
                                                             to own, engage, and encourage boards to manage
zero carbon economy.
                                                             climate risks through the transition to a low-carbon
                                                             economy than it is to exclude and divest. Investors
Elements of disclosures
                                                             who rid themselves of carbon-producing assets risk
• Clear, comprehensive, compelling disclosures on the        selling them to those who might not want to engage
  expectations outlined above, to allow the market to        and encourage change. This may not help—and
  accurately price securities.                               may frustrate—the just and orderly transition to a
• Regular reporting of climate-related information           decarbonized economy that the investor hopes to
  in line with the Task Force on Climate-related             achieve. By remaining invested in companies and
                                                                                                                     3
Case 6:24-cv-00437-JDK   Document 66-8   Filed 03/17/25   Page 5 of 5 PageID #: 579
